                   Case: 25-1555
                   UNITED  STATES Document:
                                  COURT OF72   Page: FOR
                                            APPEALS  1   Date
                                                         THE Filed:
                                                              THIRD 05/20/2025
                                                                      CIRCUIT

                                                 No. 25-1555

                       Atlas Data Privacy Corp., et al.   vs. We Inform LLC, et al.

                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
Electronic Privacy Information Center


Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)            ____ Appellant(s)               ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                 ✔ Amicus Curiae
                                                                       ____
                              Alan J. Butler
(Type or Print) Counsel’s Name ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

Firm Electronic Privacy Information Center

Address 1519 New Hampshire Ave. NW

City, State, Zip Code Washington, DC 20036

Phone202.483.1140                                               Fax

Primary E-Mail Address (required) butler@epic.org
Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.
                                           /s/ Alan Butler
SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
